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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MICHAEL REYNOLDS                               :            CIVIL ACTION
          Plaintiff                             :
                                                :            NO. 15-0016
               v.                               :
                                                :
 MUNICIPALITY OF                                :
 NORRISTOWN, et al.                             :
          Defendants                            :

                                 FINAL PRETRIAL ORDER

      AND NOW, this 5th day of November 2020, the parties having attended the final pretrial
teleconference, it is hereby ORDERED that:


   1. This matter is referred to the Honorable Magistrate Judge Lynne A. Sitarski, United States
      District Court, for a settlement conference, to be held on December 17, 2020. The
      deadlines established in this Scheduling Order are to remain in effect notwithstanding said
      settlement conference.
   2. This matter is listed for a trial date certain on April 12, 2021, at 10:00 A.M., with jury
      selection to commence on April 9, 2021, at 9:30 A.M. The trial is expected to last five (5)
      days. The parties will be advised of the assigned courtroom when it becomes known.
   3. All motions in limine shall be filed no later than February 22, 2021.
   4. Responses to motions in limine, if any, are due by fourteen days thereafter.
   5. No later than February 22, 2021, the parties shall file joint proposed jury instructions on
      substantive issues and proposed verdict forms or special interrogatories to the jury.
      Further, counsel are to provide the Court with one (1) complete set of each party’s pre-
      marked trial exhibits in a binder, along with a trial memorandum summarizing the facts
      and legal issues involved in the case.
   6. No extensions of the deadlines established herein will be granted absent good cause.
      Counsel and all parties are to be prepared to commence trial as scheduled. All counsel are
      hereby attached for trial.


                                            BY THE COURT:


                                            /s/ Nitza I. Quiñones Alejandro
                                            NITZA I. QUIÑONES ALEJANDRO
                                            Judge, United States District Court
